
The following order has been entered on the motion filed on the 13th of September 2018 by State of NC for Temporary Stay:
"Motion Allowed by order of the Court in conference, this the 13th of September 2018."
Upon consideration of the petition filed by State of NC on the 13th of September 2018 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 13th of September 2018."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
